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AHAB JOSEPH (“JULIAN”) NAFAL
729 State Street

Santa Barbara, CA 93101

(805) 453-6293

 

Plaintiff in Pro Per

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

AHAB JOSEPH ("JULIAN") NAFAL,
an individual,

Plaintiff, THN CG
COMPLAINT FOR COPYRIGH
INFRINGEMENT

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)
)
)
)

JAY-Z pka SHAWN CARTER, an )

individual; TIMOTHY MOSELY, )

an individual; Bob Bourdan, an ) JURY DEMAND

individual; Brad Delson, }

an individual; Mike Shinoda, )

an individual; Dave Farrell, an )

individual; Joseph Hahn, )

an individual; Chester Binnington, an —_)

individual; Roc-A-Fella Records, )

LLC; a corporation; Timbaland )

Productions, Inc., a corporation; )

Def Jam Records, Inc., a )

corporation; Warner Music Group, Inc., )

a corporation; MTV Networks )

Enterprises, Inc., a corporation; )

Machine Shop Recordings, )

LLC, a corporation; Universal Music )

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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Group, Inc.,

a corporation; Lil Lulu Publishing,
EMI Music, Inc., a corporation; EMI
Publishing LTD., EMI Music Arabia,
Inc., a corporation; EMI. Blackwood
Music, Inc., a corporation; Virginia
Beach Music, Chesterchaz
Publishing, Rob Bourdon Music,
Nondisclosure Agreement Music,
Big Bad Mr. Hahn Music, Kenji
Kobayashi Music, Chad

Butler (pka "Pimp C"), an individual;
Bernard Freeman (pka "Bun B"), an
individual,

an Sma Ne ee ae Meme Mie Ste Mi ete” “ene ee me

Defendants.

Se

AHAB JOSEPH NAFAL (“Plaintiff’} hereby sets forth the claims and allegations
which he seeks to assert in this action.

PARTIES

1. Plaintiff is an individual resident of the County of Santa Barbara, State of
California.

2. Shawn Carter (pka Jay-Z) (hereinafter “Carter” or “Jay-Z”) is an entertainer
who records, produces and performs music within the “rap/hip hop" genre. Timothy
Mosely and Kyambo Joshua likewise record and produce in affiliation with Jay-Z. On
information and belief and as further alleged below, Jay-Z, with the assistance and
particpation of Mosely and Joshua, recorded, produced, released, published,
distributed, sold, performed, advertised and otherwise unlawfully used musical works

that infringed Plaintiff's rights in “Khosara, Khosara.” The infringing works, identified

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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below to the extent of Plaintiff's current information and belief, have appeared under
variations of the title “Big Pimpin’’; they include phonorecord, music video and
performance collaborations during late 2004 and continuing through the present,
undertaken with the band “Linkin Park” under the title “Big Pimpin’/Papecut” and
promoted as an MTV Ultimate Mash-Up and Jay-Z/Linkin Park Collision Course; earlier
sound recordings, and synchronizations of the song “Big Pimpin’” featuring vocals by
Jay-Z and sometimes also the band “Underground Kingz,” as well as live broadcast
performances of the song “Big Pimpin.”

3. Defendants Rob Bourdan, Brad Delson, Mike Shinoda, Dave Farrell,
Joseph Hahn, and Chester Binnington are entertainers who record, produce and
perform music within the “alternative metal’ genre as members of the band “Linkin
Park.”

4. On information and belief, defendants Roc-A-Fella Records, LLC,
Timbaland Productions, Inc., Def Jam Recordings, Inc., Warner Music Group, Inc., MTV
Networks Enterprises, Inc., Machine Shop Recordings, LLC, Universal Music Group,
Inc., Lili Lulu Publishing, EM! Music, Inc., EM! Publishing LTD., EMI Music Arabia Inc.,
EMI Blackwood Music, Inc., Virginia Beach Music, Chesterchaz Publishing, Rob
Bourdon Music, Nondisclosure Agreement Music, Big Bad Mr. Hahn Music, and Kenji
Kobayashi Music are corporate entities that are responsible for the “Big
Pimpin’/Papercut” collaborations released by Jay-Z and Linkin Park. Together with
defendants Carter, Bourdon, Delson, Shinoda, Farrell, Hahn, Barrington, Mosley and

Joshua, they are collectively referred to below as the “Collision Course Defendants.”

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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5. Defendants Chad Butler (pka “Pimp C”) and Bernard Freeman (pka “Bun
B”) record, produce and perform music as members of the band “Underground Kingz
(UGK).”

6. On information and belief, defendants Roc-A-Fella Records, LLC,
Timbaland Productions, Inc., Def Jam Recordings, Inc., Island Def Jam Music Group,
Universal Music and Video Distribution, Inc., Universal Music Grou, Inc., Lil Lulu
Publishing EM! Blackwood Music, Inc., Virginia Beach Music, EMI Music Publishing,
Ltd., and EM! Music Arabia, Inc. are corporate entities that are responsible for the “Big
Pimpin” musical works featuring vocals by Jay-Z and the Underground Kingz or
otherwise deriving from or relating to a “Big Pimpin” sound recording released on the
CD, Jay-Z Vol. 3...Life and Times of S. Carter. Together with Defendants Carter,
Mosely, Joshua, Butler and Freeman, they are collectively referred to below as the “Big
Pimpin’ Defendants.”

JURISDICTION AND VENUE

7. This Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. §1338 because Plaintiff's claims arise under the United States Copyright Act, 17
U.S.C. §101, et seg. Venue is proper in this Court because some of the infringing acts
have occurred within this district.

PLAINTIFF'S RIGHTS
8. Plaintiff is the assignor of a valid exclusive license to exercise all rights of

the copyright holder in the song “Khosara, Khosara.”

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 

 
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9, Plaintiff's chain of title to those rights begins with a License Agreement
between Osama Ahmed Fahmy (“Fahmy”) and Farouk Fathalla Sima (“Sima”) (the
“License Agreement’). Plaintiff as the “Copyright Holder of all copyrights relating to the
music of the song ‘Khosara, Khosara’,” granted Sima “an exclusive license to use the
products which incorporate any of the intellectual property included within the
Copyrights” whose territory includes “all places on Earth” with the exception of Egypt.
Fahmy also granted Sima the right to “prosecute all parties believed to be responsible
for infringement” of Khosara, Khosara in his own name. The rights granted to Sima
were subject only to payment to Fahmy of 60% (sixty percent) of the proceeds as
defined. Attached hereto as Exhibit “A” is a true and correct copy of the License
Agreement.

10. Subsequently, the License Agreement was amended to extend its term,
reduce the percentage paid to Fahmy to 50% (fifty percent), and to specifically provide
that “no right of termination may be exercised if any litigation ... has been ... initiated
with respect to the song, “Khosara, Khosara....” Attached hereto as Exhibit “B” is a true
and correct copy of The Amendment to License Agreement.

11. On January 27, 2005, Sima assigned Plaintiff one-half of Sima’s rights
under the License Agreement (the “2005 Assignment Agreement”) and secured
Fahmy’s express written consent. Attached hereto as Exhibit “C” is a true and correct
copy of the 2005 Assignment Agreement.

12. Effective as of October 1, 2008, Sima assigned to Plaintiff the remaining

one-half interest in the License Agreement (the “2008 Assignment Agreement’).

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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Attached hereto as Exhibit “D” is a true and correct copy of the 2008 Assignment
Agreement

13. Through this chain of title Plaintiff owns 100% of an exclusive license to
commercially exploit the copyright in “Khosara, Khosara’” and to prosecute a claim for its
infringement.

14.  Onor about April 1, 2005, Plaintiff commenced a copyright action against
Defendants. Said action was prosecuted before Judge Wilson of this court and
subsequently dismissed by Judge Wilson on the basis that Plaintiff lacked standing to
assert these claims. Plaintiff has now cured his standing by acquiring the rights of Sima
in the License Agreement.

CLAIM FOR RELIEF

15. Plaintiff repeats and incorporates by reference the allegations contained in
Paragraphs 1 through 14 above.

16. Within the last three (3) years, and for a substantial period of time,
Defendants, and each of them, have infringed the copyright in “Khosara, Khosara,” by
using portions of the music in various sound recordings produced by Defendants
without permission or any grant of rights. These acts constitute infringement which is
actionable pursuant to 17 U.S. C. §501.

17.  Asadirect, proximate and foreseeable result of Defendants, and each of
their infringement of the copyright, Plaintiff is entitled to damages, including actual
damages and Defendants’ profits, in an amount according to proof exceeding the sum

of $5,000,000 (Five Million Dollars).

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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WHEREFORE, Piaintiff prays for relief as follows:

1. For damages for copyright infringement, including actual damages and
Defendants’ profits in an amount according to proof;

2. For costs of suit incurred herein;

3. For such other and further relief as the Court deems just and proper.

DATED: July 21, 2011

 

AHAB J@SEPH ("JULIAN') NAFAL
Playtiff, In Pro Per

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 
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JURY DEMAND

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Plaintiff Anab Joseph Nafal hereby demands a trial by jury.

  

DATED: July 15, 2011

 

 

AHAB J PH ("JULIAN") NAFAL
Plaintiff,An Pro Per

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COMPLAINT FOR COPYRIGHT INFRINGEMENT--JURY DEMAND

 

 

 
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EXHIBIT A
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LICENSE AGREEMENT seca pi Gee Qi
Mr. Osama Ahmed Fahmy alia) il cid ag’ seal Lotud / ul

Fathalla (“Copyright Holder”)
and Mr. Farouk Fathalla Sima
(“Licensee”) agree as follows: gly Le gle Laat (al Yped poll) Qe ¢ ;

ain) 38 By 1B /ageall y (AgSLaN 3 sis eee

Recitais

A- Copyright Holder is the
holder of all copyrights related to
the music of the song “Khosara
Khosara” including both the
copyrights to the composition
itself as well as every authorized
recorded performance of this

 

composition (collectively |
| | Gale Ash Gis Belk oe
“Copyrights”). The certificates ( wea

relating to the copyrights are
attached hereto as Exhibit “A”.
B- Copyright Holder desires to
license certain rights in the
Copyrights to Licensee.

   

Terms

1- Exclusive License: The
license granted by this agreement ne

is an exclusive license to use the @7* C** > Séell Ios Bis ce
products which incorporate any = Ges 24 , SI) Glatiall plas bal!
of the intellectual property | . ee
‘neluded within the Copyrights. CTS 72 AS Gots SUS ASL
This exclusive license extends Ala Ail gl a0ball 4alS ad; pleat ao
throughout the entirety of the
Territory described below.

 
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2- Territory: This license
extends to all places on the Earth
with the exception of the
following countries: Egypt
(hereinafter” Territory’).
3-Term: This license shall
continue from the date set forth
above unit] December 31,2002.

4- Extensions of Term: Unless
either Copyright Holder or
Licensee shall deliver a notice of
termination of this license to the
other party at least 90 days prior
to the expiration date of this
license, this license shall be __
renewed for one year on all of
the terms stated herein. This
automatic renewal shall continue
annually until such time as either
party exercises the right to
terminate this agreement by
written notice is delivered in
accordance with this paragraph.
5- Royalties: Licensee shall pay
to Copyright Holder 60% of all
of Licensee’s net income from
thé use of the rights granted
pursuant to this license
(“Royaltics’”). The Royalties

 

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Licensee for the use of the
Copyrights in the Territory. For
purposes of this computation,
amounts paid to employees or
partners of Licensee shall not be
considered “costs” and shall not
be deducted from the amounts _
paid to Licensee.

6- Infringement: In the event
Licensee becomes aware of any
infringement of the Copyrights
within the Territory, whether
during the term of this agreement
or prior to this agreement,
Licensee may prosecute all
parties believed to be responsible
for the infringement including
the right to sue for infringement
in Licensee’s own name and the
right to negotiate any settlement
of any such infringement. All
amounts recovered pursuant to
any such claims of infringement
shall be subject to the payment of
the Royalty as described above.
Copyright Holder shall provide.
whatever assistance may be
required by Licensee to
prosecute any such claim of
infringement.

 
 
 

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Mr. Osama Ahmed Fahmy Fathalla.
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Mr. Farouk Fathalla Sima c-s / \ LN el

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EXHIBIT B
iio 11-c Wee SVW-PJW Document 1 Filed 07/28/11 Page, 18 of 35 "Page ID #:18

EX |

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AMENDMENT TO LICENSE AGREEMENT.

This Amendment. Agreement shall be deemed to amend the License Agreement
entered.into in or about 2001 between Mr. Osaina Ahmed Fahmy Fathala (“Copyright
Holder”), and Mr. Farouk Fathalla Sima Cliegnsee:’ related to the song; “Khosara,
Khosara, as follows:

1.

i Tn Peraoragh 3, the date. December 31, 2002 shall be changed t to.
. Decembet 31, 2007, oo

Paragraph 4 shall be deieted andt the folloviing inserted in: Fits place ‘and.
. stead:

“Extensions of Teun? Uniless either Copyright Holder or: Licensee |

shall deliver a notice of. termination of this’ license to the other:party at’
_ least 90 days-prior to.the expitation date. of this ‘license this litense’ shall be’ -

renewed for five years on all of the terms stated herein. This automatic

- teriewal: shall continue for additional: five'year petiods until such time. as .

either party exercises.the ight to terminate this agreement by. written
notice delivered in accordance with. this paragraph.

Notwithstanding the foregoing, no right of terminatioti may be
exercised if-any litigation, for infringement or: otherwise, has been or is
about to be initiated by or for Licensee with respect.to the song, Khosara,
Khosara and any attempt to do’ so in violation of this. paragraph 4 shail: be .
null and void-and of no force or effect. ‘In such event, the license term
shall be deemed tolled during the period of any such litigation and for a

- period of 180 days: following final disposition of any such litigation, or if . .

more than one piece of litigation, the- final disposition: of the:last-of such:

“litigations. ‘No such.termination shall interfere-with Licensee’ sTights to
receive income payable after the: effective date: of any: such’ termination.”

In paragraph. 5; the number 60% shall be changed to 50%,

In paragraph 6, the phrase Ain Licensee’ 's Own naine” shall be modified to

-. read “in Licensee’s own name, alone or withothers, or in the name.of a
person oT entity authorized by licensee.”

_ EXCEPT as specifically amendéd herein; all of the terms and conditions °

of the License Agreement shall remain in full force and effect.

“DATED: So DATED:

 

CR. _ '

 

 

 

MMi. Osama Ahmed Fahmy Fathalla © Mr. Farouk Fathalla Sima -
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EXHIBIT C
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ASSIGNMENT AGREEMENT

This Assignment Agreement (Agreement) is: entered i into. as of January 27, 2005,

between -Mr. Farouk | Fathalla Sima (“Assignor”), and: Ahab Toseph, (“Tulian”) Nafal

("Assignee").

. Recitals

A- ‘Assignor. is the holder of the: exclusive license; to exercise all, rights’ of: the

copyright holder in the music, of the song. “ichosara, Khosara,” also sometimes spelled

 

“Khasara,, Khasara” (the. “Song*) within-all. placés on Earth: with. ‘the: exception: of -

Egypt, by. virtue of that certain exclusive: license. agreement: (“License Agreement”), .

entered ‘into’ in or about. 2001 between Assignor, and Mr. Osama Ahmed Fahmy

Pathalla as: copyright ‘holder (Copyright: Holder”). A true and. acourate copy of the -

. License Agreement is: attached hereto. as Exhibith. ; ; .
B-Assignior shall obtain - from the Copyright ‘Holder. the | amendment to- the License
Agreement in the. form ‘and’ substance aitached ‘heréto- as Exhibit 2, whereupon all

, references heréin shall be to the License Agreement as 50: ‘amended,

C- To further. exploit. the Song undér the’ License: ‘Agreement, as ‘well: ‘as to ‘assist the o

Assignor in enforcing the copyright holdings in the-Song, and for. good: and. valuable
consideration, Assignor hereby assigns the rights and obligations set forth below,

. according to the terms and conditions set forth below.

Terms of: Agreement

oe Assignor hereby assigns, transfers dnd ecinveys to ‘Assignee an: uiidivided. one-talf -
(30: %) of his tights; title- and interest that he holds i in ‘the License Agreément. Upon
execution of this, Agreeinent, | and subject to the express limitations ‘provided for.
herein, _Assignor ‘and Assignee shall become equal co-holders i in the licensing ni ights to :

the Song within all places on. Earth with the: “exception of Egypt (the rights within

Egypt to be retained aiid held’ solely by Assignor): The absignment includes without: ,

limitation, all causes. of. action.” arising from past and: continuing infringements, -

regardless when the. infringing acts occurred: or. the: ‘catises! of action acerued, all rights
of action including, but ‘not. limited to, the right to. collet: ‘any. and all fees,: royalties, -

and other income, for the recording, publi performarice, publication, synchronization, :
  

or other use of the Song (all called “Use Fees’), regardléss whether the event or use

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‘ . . . 3 '

requiring such fees occurred before.or after the date of this Agreement, and all rights .

to extension. or. renewal: of the License Agreement, subject | to the terms: of this

Agreemient.

2- The Assignor hereby grants to o Assignee: the sole. and exclusive’ power, authotity .

and capacity to negotiate, enter. into and sign licenses. and conitracts with third parties -

for the purpose of exercising: the rights under thé License Agreement and otherwise.

exploiting the Song pursuant to the License Agreement within all territories outside of ©

Egypt. However, no such contract with: the exception of contracts relating to

enforcement of the copyright holdings against a suspected infringement, the approval

of which: shall ‘be governed by: Paragraph 5" -below) ; shall ‘be. entered without the

advance approval of. Assignor, -other. ° than: ‘standard industry. agreemerits &. Be

mectianical license agreements, etc.).. “Any request. foi <Assignor’ s approval pursuant |

to this Paragraph shall be made j in wiiting to Assignor by eithier facsimile. or ‘email

transmission, and shail provide either a draft of the proposed contract of a description

of all of its material terms. Assignor shall. exercise such tight of: approval in a
commercially reasonable: manner, and shall communicate his: decision ini writing, (and
if disapproved his reason(s) thereof) by either ‘facsimile or eniail. transmission, to
Assignee within five days of his receipt from. Assignee of a request. for approval. A

failure to communicate his decision to. Assignee as set forth above, within such- time

period shall be deemed an approval of the request

3- In consideration for this Agreement, Assignee shall pay: Assignor T3% of the. Net
Income derived from Assignee’ s exploitation of the’ License. Agreement assigned
herein... AS used in. this Agreement, ‘Net Income. shall mean the balance remaining

from-all revenues and Use Fees’ received by. Assignee or ‘his: agents, representatives or

attorneys as- a result-of Assignée’ s efforts in exploiting the Sorig. and: exercising ‘the |.

rights under the License Agreement, including: but riot! limited to payments received as
the result of infringement claims or claims for: entitlement: to any Use Fees, after

deducting for (1) attorney” s.fees, accounting fees and expert constant’ and. expert

witness fees, owed in. compensation: for representation: in. pursuing any infringement .

claims or claims of entitlement to any Use Fees,. under the ‘License Agreement, and»

(2)-expenses and costs advanced. in pursuing any jrifringément claims or claims of
Case 2:11-cv-06238-SVW-PJW. Document 1 Filed 07/28/11 Page,22 of 35 Page ID #:22
. fy

entitlement to any y Use. Fees: under the License ‘Agresinent. ( Revenues received”

      

directly, by Copyright Holder as: a result. of Assignee’ Re efforts, as. aforesaid, may, be: |

credited: against the 75% of Net Income Assignee is. requited to: pay “Assignor i in: the .
first sentence of this paragraph 3) In all: cases, Assignee ‘shail not. be: entitled to “deduct a

 

a sum greater than fifty percent (50 %) from any such reveniues or recovered amounts.
With the exception of fees, costs: and expenses incurred i in Egypt, which. are provided
for’ in Paragraph 4 of this Agreerient, Assignee: ‘shall be solely. responsible: ‘for: any |
‘fees; costs, and expenses that exceed fi fiy percent (50%). of the revenues: or recovered |
amounts resulting from the exploitation: of the’ Song and exercise of rights under ‘the

License Agreement, without: right of reitnbursement from Assignor or. Copyright om

Holder.

4- Assignor agrees to pay for: all legal, accounting, and. expert: fees ineurred i in Egypt
and all other costs ‘and. expenses: ‘incurred. in ‘Egypt. or otherwise. incurred which ,

- directly relate to. discovery and evidence: gathering. in Egypt, in gonnéetion with any
claims pursued, by Assignee for infringement of the rights granted under the’ License. be
Agreément and this: Agreément’ or for collection of any. Use: ‘Fees. Assignor shall be . -

responsible for payment’ of such costs and. expenses ‘egatdle’s of” the success or:
outcome of the claims. for infringement and for collection of Use. Fees. Assignot shall . 7
not be responsible for any lawyer's ‘fees ‘and/or expenses related. to. infringement,
and/or. collection for Use Fees that might have transpired | in. Egypt prior to the
execution of this Agreement. In. the event that Assigneé ‘pursues litigation for
infringement. and/or collection of Use Fees and asa resi of. such. action the outcome’
results in losses, any such’ losses shall: be: borne solely by: the Assignee and will not be

the responsibility of the Assignor except for fees, costs and expenses incurred in
Egypt or directly relating to discovery ‘and: evidence gathering in Egypt, as: stated

above.

5- In exercising arty ‘rights grented to Assignee heréurider, Assignee. shail provide’ that |
Assignor be. named with Assignee.as a. co-lolder: of the exclusive rights granted. under
‘the: License. Agreement; and. that” any Net Income: received. from. any. litigation
including. copyrights. infringement or Use Fees be. paid 5% to. the Assignor and 25%

* to the Assigri¢e. Assignor. shall pay to Copyright Holder his share of: the net income

, from and out of the 75% paid to Assighor, who shall hold harmless: Assignee from: and -_ |
Case 2:11-cv-06238-SVW-PJW Document1 Filed 07/28/11 Pag@23 of 35 Page ID #:23

against any claim. for any shares of Net Income by or for Copyright. Holder as

aforesaid. In all. cases, Assignee should ensure that’ third ‘parties have. duly paid the |
Assignor his 75% shares through directly: transferring his shares to: his bank account. ©
Assignee shall have sole and exclusive power and. authority to. recover ‘Use Fees and-

pursue infringement claims. outside: Egypt, to hire attorneys" and other: professionals .

for the purpose of evaluating. and’ pursuing infiingement claims, to commence. any

lawsuit or other: ‘formal Tegal proceeding, for’ infringement or for the recovery of. Use. -

Fees, and to. enter into any agreement: in settlement of such claims of: infringement. Or
for recovery of Use Fees. However all the previous: activities should be, governed with

the conditions.set forth in paragraphs 3.3 and this paragraph. Moreover, no-such

 

professional shall be retained, and no lawsuit or other formal legal proceeding ‘shall be.

commenced, without the advance approval of Assignor: Assignor shall exercise in a

commercially reasonable manner his right to approve the engagement of a.

. professional under this Paragraph, and shall. communicate: any. such. decision (and, in

the case of a disapproval, the: reason(s) therefore). within ninety-six (96) hours of his: °

receipt, by facsimile or email transmission, ofa request: for’ approval. A failuie to. |

" communicate his decision to Assignee as: set: fortti above; Within such time, pétiod
~ shall be deemed an approval of the Fequest however any implied approval will bei in
accordance with Paragraphs - 3. 3-and: 5; Assignee shall: not ‘be required: to seek:

Assignor’ s. approval for contracts that may be entered or. services and- expenses ,

incurred (by example: but not by way of limitation, the hiring: of an expert or of a’ court

reporter), which in Assignee’s. sole judgment: are necessary to’ the: conduct of a

pending lawsuit. or other formal legal proceeding. However, all the previous expenses

should be official or presented through ratified affidavits. Prior to exercising, ‘his sole

‘and exclusive power and authority to enter into an agreement. to settle a claim for

infringement or for recovery of Use Fees, Assignee shall make a good faith attempt to

communicate with Assignor for the purpose of. conferring with Assignor about the

proposed settlement.

6-This Agreement: shall be deemed to. have. been negotiated and! ‘agreéd upon in. the os

State of California, United States, of America;. and to require: performance by Assignor

and Assignee wholly within. the’ State of California, United: ‘States of America. Any

' claim, action or dispute’ between the. parties to this: Agreement which arises form: or is .

‘related to this. Agreement shall be filed; adjudicated; or r otherwise pursued exclusively
Case 2:11-cv-06238-SVW-PJW Document 1 :Filed.07/28/11 Page 24

| Ye’
| | A. patties to this. .

  
 

within the State of California, United States of Ametica; andf

Agreement hereby submit to the jurisdiction of the state arid. federal courts within the

State of California for: purposes, of any such claim, action or "dispute, This Agreement

shall be governed by! the laws of: the State of: California.

aoe This Agreement: will be disregarded if any: of: it “pages is ‘not’ sige or

 

. authenticated: by” the. Notary. Public, This. ‘Agreement replaces’ and suipérsedes all. prior -

agreements, whether: oral or written; ‘Between ‘Assignor- anid Assignee with: regard tor.

the subject matter’ of this. Agreement,

_ $.The Assigtior provides that he has obtained the spproval o of the Copyrights. Holder,

who provides his signature on ‘this agreement. ‘Moreover; Assignot warrants that. he’

has the full licensing rights which he obtained from. the Copyrights holder. and that, he

will not use any of his remainder ‘rights’ in contradiction with the Assignee's
exploitation or implementation to this agreement, Assignor: further represents and

warrants that all approvals which may be. required, from Copyright Holder i in- “order: for,

Assignot ani Assignee ‘to enter. into this Agreement, have been’ obtained: .

9-All terms and. conditions agreed upon by Assigriox and Assignee, with iespect to. the” .
subject. matter: of this Agreement are. ‘integrated. init. and, expressed: within the oo

| provisions of this Agfeement, This Agreement: shall not be: amended, except by 4 a:

written: instrument at signed. by Assignor and Assignee. a

10- Upon the signing of this: . Agreement; Assignes s shail be authorized to immediately. :

_ retain. counsel, subject: ‘to the terms of this Agreentent, for: the piirpose of pursuing :

infringement claims relating to the song, “Big Pimpin’ ” “Upon the’ signing of this

Agreement, Assignee also shall be authorized to: immediately: enter into an agreement

for legal services with Andrew Kent and his law firm, Rincon Ventare Law Group, on:

the terms described in the written engagement agreement Assignee’ provided to

Assignor. However, both the Copyrights Holder. and the Assignor are: not responsible
for any obligations that exceed the coniditions set in Patagraphs 3. 3 and 5. In all cases, a

if the Assignee fail :to file an: infringement action relating to the Song. “Big Pimpin” —

Yot 35 Page ID #:24

within 180 days: ‘from’ ‘the: date Assignor 2 and Assignee have e signed. this Agreement, Oe oe
Case 2:11-cv-06238-SVW-PJW Document1 Filed 07/28/11° Page 25 of 35 Page ID #:25

then this Agreement shall be terminable in “Assignor’ s sole and’ absolute discretion,

effective upon Assigriee’s rebeipt of written notice of such: termination from Assignor. .

 

ASSIGNOR _
Mr Farouk Fathalla. Sima.

 

 

Copyright holder i is ‘hereby giving: consent to this assignment agreement by”

signing below. :
Re yo. . 238° “oS ole

Copyright Holder Date._
Mr. Osama Ahmed Fahmy Fathalla
= a | 2: 11- psy PJW Document 1° Filed O7/28/11 Pag$ 26 of 35 _ Page ID #:26

AMENDMENT TO Lc GRMN |

This Amendiient Agreement shall be deemed to amend the License Agreement
entered.into in or about 2001 between Mr. Osatna Ahmed: Fahmy Fathalla (“Copyright
Holder”), and Mr. Farouk Fathalla Sima (“Licensee”), related to the song; “Khosara,
Khosara, asfollows: .

Che: In Paragraph: 3, the date. December 31, 2002, shall be changed to.
‘December 31,2007;; 3 .
2. Paragraph 4 shall be deieted and the following inserted in’ its slace'a and
stead:
“Extensions of Term: Unless. either Copyright Holder or Licensee
shall deliver a notice of termination of this. license to the other party at
_ least 90 days priar to the expiration date of this license this license shall be
_ renewed for five years on all of the terms stated herein. This automatic ~
reriewal shall continue for additional five year periods: until such time as |.
either party exercises.the right to terminate this agreement by: written
notice delivered i in accordance with this paragraph.

Notwithstanding the foregoing, noe right of termination may be
exercised if any litigation, for infringement or otherwise, has been or is
about to be initiated by or for Licensee with respect to the song, Khosara,
Khosara and any-attempt to do so in violation of: this paragraph 4 shall: be .
null and void and of no force or effect. In such event, the license term
shall be deemed tolled during the period of any such litigation and fora
- period of 180 days following final-disposition of any such: litigation, or if
more than one piece of litigation, the final disposition of the:last-of.such’
- litigations. “No such. termination shall interfere with Licénsee’ Ss: ‘Tights. to
- receive income payable after the: effective date: of any: such’ termination."

3B In paragraph 5, the nutnber 60% shall be. changed to 50%,

4. In paragraph 6, the phrase “i ‘in Licensee’ 5 own name” shall be modified to
_ tread “in Licensee’s own name, alone or with others, or in the name. ofa
- person or entity authorized by licensee.”

_ EXCEPT as specifically amended herein, all of the terms and conditions
. of the License Agreement shall remain in full force and effect. |

DATED: a DATED:
CARY —_

Mr Osama AbniedFahmyFathalla «Mr. Farouk FathalfaSima

 

 

 
Case 2:11-cv-06238-SVW-PJW Document 1 Filed 07/28/11 Page 27 of 35 Page ID #:27

EXHIBIT D
Case 2:11-cv-06238-SVW-PJW Document 1. Filed 07/28/11 Page 28 of 35 Page ID #:28

Page 1 of 3

ASSIGNMENT AGREEMENT

This Assignment Agreement is entered into as of September 15, 2008 between
Mr. Farouk Fathalla Sima (“Sima”) and Ahah Joseph (“Julian”) Nafal (“Nafal”).
Recitals

A.

pa/T@ Aad

By Assignment Agreement (“the “Assignment Agreement”) entered into as
of Jannary 27, 2005, Sima, as the holder of the exclusive license to exercise
all rights which incorporate any of the intellectual property included within

the copyrights to the music of the song “Khosara, Khosara,” also

sometimes, spelied “Khasara, Khasara,” within all places on Barth with the
exception of Egypt, in accordance with the exclusive license agreement
(“License Agreement”) between Sima and Mr. Osama Ahamed Fahmy
Fathalla (“Copyright Holder”), assigned Nafal an undivided one-half —
interest in and to the License Agreement.
Sima has agreed to assign his remaining interest in the License Agreement
to Nafal.,

Agreement
In consideration for the promises and covenants contained herein, Sima
hereby assigns all of his right title and interest in and to the License
Agreement to Nafal, effective as of October 1, 2008.
After reviewing the License Agreement dated November 1, 2001 and its
amendment in October 30, 2004 and Egypt’s applicable copyrights and by
his signature below, Nafal accepts the assignment of Sima’s remaining
interest in the License Agreement and agrees to assume all obligations of
Sima against Mr. Osama (“Copyright Holder”) under the License
Agreement and its amendments and hold Sima harmless against any and all
claims of Copyright Holder under the License Agreement.
As a consideration for this Agreement, Nafal agrees to pay Sima the sum of
$50,000 (Fifty Thousand Dollars) payable as follows: (i) $15,000 (Fifteen

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Case 2:11-cv-06238-SVW-PJW Document 1 Filed 07/28/11 Page 29 of 35 Page ID #:29

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Page 2 of 3

Thousand Dollars) upon receipt of this Assignment Agreement duly signed
and notarized from Sima; and (ii) the balance of $35,000 (Thirty Five
Thousand Dollars) in five installments with the first installment in the
amount of $10,000 (Ten Thousand Dollars) payable on the 30th day
following receipt of the Assignment Agreement duly signed and notarized
and five subsequent payments of $5,000 (Five Thousand Dollars} each,
payable each successive 30 days thereafter. At the time of the initial
payment of $15,000, Nafal shall supply post-dated checks with serial no.
176, 177, 178, 179, 180 and 181 for each of the required subsequent
payments and those checks are irrevocable. The checks to be payable to the
order of Mr. Amor Fathalla

This Agreement is irrevocable for either party. With his below signature,
Mr. Sima’s connection to the License Agreement, the Copyright holder and
Nafal ends in relation to any matters pertinent to the music of the song
“Khosara Khosara.”

Nafal confirms that he received all documents that were in Mr. Sima’s
possession and accepts Mr. Sima’s representation that there are no other
documents in Mr. Sima’s possession. Nafal has no rights to ask for any
further documents. Also Nafal understands and accepts that pursuant to this
Agrecment he is not entitled to raise any compensation or reimbursement
claims against Mr, Sima pertinent to his previous liabilities under the
License Agreement, or any other claims of any nature against Mr. Sima in
connection with the song “Khosara Khosara,” and particularly those related
to the outcomes of claims he will file or filed against the Copyright holder
or the infringers of the copyrights of the said song.

For good and valuable consideration, receipt of which is hereby
acknowledged, Mr. Farouk Fathalla Sima (“Sima”) hereby assigns,
transfers and sets over to Ahab Joseph (“Julian”) Nafal (“Nafal”) all of
Sima’s right, title and interest in and to the License Agreement {the

SALVIOOSSY “WAVN gStasg6seas Pri8B BBB2/ST/TT
Case 2:11-cv_06238-SVW-PJW Document 1 Filed 07/28/11 Page 30 0f 35 Page ID #:30

Page 3 of 3

“License Agreement”) between Sima and Mr. Osama Ahamed Fathalla as
Copyright Hoider (“Osama”), pertaining to the rights to the intellectual
property included within the copyrights to the music of the song “Khosara,
Khosara.” This Assignment agreement includes any and all claims and
causes of action that Sima has or had against Osama arising from the
License Agreement, and any and all rights or reservations of powers
previously retained by Sima, and any and all documents, agreements or
promises pertaining thereto.

7. This Assignment Agreement is effective as of October 1, 2008 and transfers

to Nafal ali of Sima’s powers, rights and obligations under the License

oo VG. sto hE Stang
Agreement without limitations. Onthe o App,

or Missiseaun | in th ¢Froince

ot Ege ot “a
aie A CommisgrSffer for Eakite Oats éte

Datea: MC VEABER. 2) ZOOS

 

 

———
Farouk Fathalla Sima

Address: 388 Comiche RD - Zizenia - Alexandria 21411- Egypt.

Dated: /f- [2 - ot

 

 

Address: 101 west Anapamu st. 4” floor. Santa Barbra, CA 93101

Phone: 1-805-403-9370

"1 PER ONAN PEREZ ARES x

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rPa/t@ Ape SALVISOSSY “WavN eStasssses pe:@@ 8@Gd/ST/TT
 

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eM

CALIFORNIA ALL-PURPOSE,

   

CERTIFICATE OF ACKNOWLEDGMENT

State of Califormia

County of Keen

_ On Mexvember (2) Zo before me,

Pacem. Li Ly

(Here insert name: and tile of the officer

 

personally appeared, Abate Josepl Nakal ;

who proved to-me on the basis of satisfactory evidence to be the person(s) whose nam subscribed to
the within uusinement and acknowledged to me.thaChefshe/they executed the same in ec/their authorized

capacityGes), and that byhisdher/theix signatugs(sf on the instrument the persongeJ, or the entity upon behalf of

which the persop(sy'acted, executed the insteument.

I certify under PENALTY OF PERJURY under the
is trne and correct. ;

WITNESS my hand and official seal.

o .

laws of the State of California that the foregoing paragraph

   
 
 

ADDITIONAL OPTIONAL INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2008 Version CAPA 1712.10.07 800-873-9865 ‘www NoteryClasses.com

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INSTRUCTIONS FOR COMPLETING THIS FORM

Any ackwwiedgment completed tn California paust contin verbiage exactly as
appears above iz the notary sactiog or ¢ separate acknowiedgment form mutt be
properly completed and attached to that document The only axception is if a
document is 1a be recorded outside of California In such instances, any alternative
acknowledement verbiage as may be printed on such a document so long as the
verbiage does not require the notary w do something that is egal for a notary in
California (Le, certifing the authovized capacity of the signer). Please check the
doqument carefully far proper notarial wording and anach this form if required.

* State and County information must be the State and County where the document
-  sipmer(s) personally appeared before the notary public for acknowlodgment

« Date ofnotarization must be the date that the signer(s) personally appeared which
must iso be the same date the acknowledgment is comipleted.

* The notary public must print his ot her nanse as it appears withm dis or her
commission followed by acouuma and then your tit: (notary public).

« Print the name(s) of document sigmer(s} who personally appear at the ume of

. Indicate tho oocrect sitgniar or plural forms by crossing off invomoct fons (i.e,
heveherthey, is aso ) ar citcliag the conect forms. Failure to correctly indicate this
anfortnation may lead to rejection of document meoording.

The notary seal impression most be clear and photographically reproducibie.
Impression must pot cover text or Jines. If seal impression staudges, ro-seal if a
sufficient area permits, offerwise complete a different acknowledgment for.

« Signature of the notary public raust match the signature on file with the office of

the county clark. .
@ Additional information is not required but could help tw esse this
acknowledgoent i not misused of attached to a different document
@ Todicute title or type of attached documcat, number of pages and date.

& Indicate the capacity claimed by the signer. If the daimed capacity is 3

corporate officer, tadicate the title (i.<. CEG, CFO, Secretary):
» Secnrely atisch this document to the signed document

ee

= EN ee aT CALPORAT =
— Gea) ker County ti
cage” Ny Contin, Exp. apy, 24, 2008

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Case 2:11-cv-06238-SVW-PJW Document1 Filed 07/28/11 Page 32 of 35 Page ID #:32

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Jacqueline Nguyen and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV11l- 6238 JHN (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ail defendants (if a removai action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St, Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 9250+

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:11-cv-06238-SVW-PJW Document 1 Filed 07/28/11 Page 33 of “0 RIGIN:
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNI A L

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS
AHAB JOSEPH ("JULIAN") NAFAL SEE ATTACHED

 

(b) Attorneys (Firm Name, Address and Telephone Number. [f you are representing
yourself, provide same.)

AHAB JOSEPH JULIAN NAFAL, in pro per
729 State Street
Santa Barbara, CA 93101 805-453-6293

Attorneys (If Known)

Alexa L. Lewis, Esq.

Mitchell, Silberberg & Knupp

11377 West Olympic Boulevard

Los Angeles, CA 90064 310-312-2000

Il. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF
Ol Ol

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

wf3 Federal Question (U.S.
Government Not a Party)

010U.8. Government Plaintiff PTF

o4

DEF

Citizen of This State G4

Incorporated or Principal Place
of Business in this State

 

O2US. Government Defendant O04 Diversity (Indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O5 O85
of Parties in Item ID ~ of Business in Another State
Citizen or Subject ofa Foreign Country 03 013 _ Foreign Nation O6 6

 

F¥. ORIGIN (Piace an X in one box only.}

1 Original (2 Removed from (13 Remandedfrom 024 Reinstatedor O15 Transferred from another district (specify; O16 Muls- O7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: MYes ONo (Check ‘Yes’ only if demanded in complaint.)

CLASS ACTION under F.R.C.P. 23: O Yes (No & MONEY DEMANDED IN COMPLAINT: $ in excess of $500,000

 

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are ftling and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

¥II NATURE OF SUIT (Place an X in one box only.)

 

  
   

   

 

      

  

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

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0450 Commerce/ICC 0 140 Negotiable Instrument ‘ Liability . 0371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0150 Recovery of 320 Assault, Libel & [380 Other Personal {[1 530 General 0 730 Labor/Memt.
0460 Deportation Overpayment & Slander , Property Damage |[1 535 Death Penalty Reporting &
470 Racketeer Influenced Enforcement of 0330 Fed. Employers’ 71385 Property Damage |0) 540 Mandamus/ Disclosure Act
and Corrupt Judgment m1 340 oy Other (0740 Railway Labor Act
Organizations 0151 Medicare Act 15345 Marine Product ay 01550 Civil Rights 790 Other Labor
0480 Consumer Credit 11152 Recovery of Defaulted Liability O1422 Appeal 8 USC (0555 Prison Condition Littgation
01490 Cable/Sat TV Student Loan (Excl. 11350 Motor Vehicle 158 O79! Empl. Ret. Inc.
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State Statutes © ]465 Other Immigration USC 7609
FOR OFFICE USE ONLY: Case Number: i

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

C¥-71 (05/08)

CIVIL COVER SHEET

Page 1 of 2
Case 2:11-cv-06238-SVW-PJW Document 1 Filed 07/28/11 Page 34 of 35 Page ID #:34

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIUI(a). IDENTICAL CASES: Has this action been prev iously filed in this court and dismissed, remanded or closed? &No i Yes
If yes, list case number(s):

 

VIT(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? O No o Yes
If yes, list case number(s}; C'V-07-05715-CAS: CV-05-2480-SVW

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply} BA. Arise from the same or closely related transactions, happenings, or events; or
OB, Call for determination of the same or substantially related or similar questions of law and fact; or
GC. For other reasons would entail substantial duplication of labor if heard by different judges; or
wD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named plainuff resides.
(Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District: State, if other than California; or Foreign Country

 

Santa Barbara county

 

(b) List the County in this District; California County outside of this District; State if other than Califomia, or Foreign Country, in which EACH named defendant resides.
O Check here if the government, its agencies or employees is a named defendant, If this box is checked, go to item (c),

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Unknown

 

(c} List the County in this District, Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* ; California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles county

Z

 

 

 

 

 
    

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or
Note: In land condemnation cases, use the location of the tract of land involve

uis Obispo Counties

 

 

X. SIGNATURE OF ATTORNEY (OR PRO PER): Date July 15, 2011

 

  

Notice to Counsel/Parties: The CV-71 (38-44) Civil Cover Sheet e rformatioy Sained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judipfa)Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, Yewhe and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet. }

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code = Abbreviation Substantive Statement of Cause of Action

$61 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b})

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Heaith and Safety Act of 1969,
(30 U.S.C. 923}

863 DIWCc All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age} and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

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Attachment to Civil Cover Sheet

JAY-Z aka SHAWN CARTER, an individual,
TIMOTHY MOSELY, an individual;

Rob Bourdan, an individual:

Brad Delson, an individual;

Mike Shinoda, an individual,

Dave Farrell, an individual;

Joseph Hahn, an individual;

Chester Binnington, an individual;

Roc-A-Fella Records, LLC; a corporation;
Timbaland Productions, Inc., a corporation;
Def Jam Records, Inc., a corporation;

Warner Music Group, Inc., a corporation,
MTV Networks Enterprises, inc., a corporation;
Machine Shop Recordings, LLC, a corporation,
Universal Music Group, Inc., a corporation;

Lil Lulu Publishing,

EMI Music, Inc., a corporation;

EMI Publishing LTD.,

EMI Music Arabia, Inc., a corporation;

EMI Blackwood Music, Inc., a corporation;
Virginia Beach Music,

Chesterchaz Publishing,

Rob Bourdon Music,

Nondisclosure Agreement Music,

Big Bad Mr. Hahn Music,

Kenji Kobayashi Music,

Chad Butler (pka “Pimp C’), an individual;
Bernard Freeman (pka “Bun B"), an individual:

Defendant
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